         Case 1:21-cv-11558-LTS Document 103 Filed 06/09/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                 )
UNITED STATES OF AMERICA et al., )
                                 )
     Plaintiffs,                 )
                                 )
v.                               )                   Civil No. 21-11558-LTS
                                 )
AMERICAN AIRLINES GROUP INC. and )
JETBLUE AIRWAYS CORPORATION, )
                                 )
     Defendants.                 )
                                 )

                      ORDER ON MOTION TO DISMISS (DOC. NO. 67)

                                           June 9, 2022

SOROKIN, J.

       The plaintiffs in this action 1 assert that a set of agreements between American Airlines

Group Inc. (“American”) and JetBlue Airways Corporation (“JetBlue”) constitute “an

unprecedented and anticompetitive pact” that violates Section 1 of the Sherman Act. They

support this assertion with eighty-seven paragraphs of factual allegations spanning thirty-three

pages in their Complaint, to which three appendices of market data are attached. Doc. No. 1. 2

American and JetBlue ask the Court to dismiss the Complaint, arguing the plaintiffs “have failed

to plead the necessary elements of their federal antitrust claim.” Doc. No. 67 at 1. In particular,

American and JetBlue challenge the sufficiency of the plaintiffs’ allegations of anticompetitive

effects and market power. Id.; see generally Doc. No. 68. The parties have thoroughly and




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  The plaintiffs are the United States, Arizona, California, the District of Columbia, Florida,
Massachusetts, Pennsylvania, and Virginia.
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  Citations to “Doc. No. __ at __” reference items appearing on the court’s electronic docketing
system, and pincites are to the page numbers in the ECF header.
         Case 1:21-cv-11558-LTS Document 103 Filed 06/09/22 Page 2 of 2




helpfully briefed the issues raised by the pending motion, and the Court has carefully reviewed

the parties’ submissions. Doc. Nos. 67, 68, 69 (including its attachments), 80, 81.

        Upon consideration of the record before the Court and applying the well-known standards

governing motions under Rule 12(b)(6), the Motion to Dismiss (Doc. No. 67) is DENIED. The

Complaint alleges—plausibly and in a manner that is neither conclusory nor threadbare—that the

alliance at issue between American and JetBlue is likely to harm competition in the relevant

markets, and that American and JetBlue control a significant share in an already concentrated

market. E.g., Doc. No. 1 ¶¶ 9-12, 26-27, 49-75. Whether the plaintiffs will prevail on their

claims presents a question for trial, not the pending motion to dismiss, and is a matter upon

which the Court takes no position. Other issues raised within the motion papers—including, but

not limited to, the appropriate definition of the New York market, and whether and to what

extent the alliance will have procompetitive effects that would not be achievable absent the

relevant agreements—are appropriately resolved later in the proceedings, with the benefit of a

fuller factual record.

                                                     SO ORDERED.


                                                      /s/ Leo T. Sorokin
                                                     United States District Judge




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